Case 1-20-41<202-cec Doc lo Filed 04/45/20 Entered 04/29/20 1oOli ls

UNITED STATES BANKRUPCTY COURT
EASTERN DISTRICT OF NEW YORK

 

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IN RE: CHAPTER 13
ROBIN A, BENJAMIN CASE NUMBER: 20-41202
CHAPTER 13 PLAN FILED
AFTER COMMENCEMENT
X

 

Affirmation of Service

Donald Neidhardt, Esq, an Attorney duly licensed to practice law in the courts of the State of New York,
after being duly sworn on oath and under the penalty of perjury, affirms that on April 24, 2020 he served
a copy of the Chapter plan filed after commencement of case through the Federal Courts’ Electronic Files
system, on the following parties: ,

Christine H. Black, Assistant U.S. Trustee Michael Macco
Long Island Federal Courthouse 2950 Express Drive South Suite 109
560 Federal Plaza istandia,New York 11749

Central Islip, New York 11722

Donald Neidhardt, Esq., an attorney duly licensed to practice law in the courts of the State of New York,
after being duly sworn on oath and under the penalty of perjury, affirms that on April 23,2020 he mailed
a copy of the Chapter 13 Plan after commencement of case by first class mail postage prepaid to:

Rushmore Loan Management Services
PO Box 52708
Irvine, CA 92619

Gross Polowy, LLC
1775 Wehrle Drive
Suite 100
Williamsville, NY 14221

/s/Donald Neidhardt
Donald Neidhardt
